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Fill in this information to identify the case: Document Page 1 of 11

Debtor Name __________________________________________________________________

United States Bankruptcy Court for the:_______________________ District of ________
                                                                       (State)

Case number: _________________________




Official Form 426
Periodic Report Regarding Value, Operations, and Profitability of Entities
in Which the Debtor’s Estate Holds a Substantial or Controlling Interest
                                                                                                                                         12/17


           This is the Periodic Report as of __________ on the value, operations, and profitability of those entities in which a
           Debtor holds, or two or more Debtors collectively hold, a substantial or controlling interest (a “Controlled Non-Debtor
           Entity”), as required by Bankruptcy Rule 2015.3. For purposes of this form, “Debtor” shall include the estate of such
           Debtor.
            [Name of Debtor] holds a substantial or controlling interest in the following entities:
               Name of Controlled Non-Debtor Entity                                    Interest of the Debtor             Tab #




           This Periodic Report contains separate reports (Entity Reports) on the value, operations, and profitability of each
           Controlled Non-Debtor Entity.

           Each Entity Report consists of five exhibits.
               Exhibit A contains the most recently available: balance sheet, statement of income (loss), statement of cash flows,
                and a statement of changes in shareholders’ or partners’ equity (deficit) for the period covered by the Entity Report,
                along with summarized footnotes.
               Exhibit B describes the Controlled Non-Debtor Entity’s business operations.

               Exhibit C describes claims between the Controlled Non-Debtor Entity and any other Controlled Non-Debtor Entity.

               Exhibit D describes how federal, state or local taxes, and any tax attributes, refunds, or other benefits, have been
                allocated between or among the Controlled Non-Debtor Entity and any Debtor or any other Controlled Non-Debtor
                Entity and includes a copy of each tax sharing or tax allocation agreement to which the Controlled Non-Debtor
                Entity is a party with any other Controlled Non-Debtor Entity.

               Exhibit E describes any payment, by the Controlled Non-Debtor Entity, of any claims, administrative expenses or
                professional fees that have been or could be asserted against any Debtor, or the incurrence of any obligation to make
                such payments, together with the reason for the entity’s payment thereof or incurrence of any obligation with
                respect thereto.

           This Periodic Report must be signed by a representative of the trustee or debtor in possession.




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           The undersigned, having reviewed the Entity Reports for each Controlled Non-Debtor Entity, and being familiar with the Debtor’s
           financial affairs, verifies under the penalty of perjury that to the best of his or her knowledge, (i) this Periodic Report and the

                                                                                                                                  
           attached Entity Reports are complete, accurate, and truthful to the best of his or her knowledge, and (ii) the Debtor did not cause
           the creation of any entity with actual deliberate intent to evade the requirements of Bankruptcy Rule 2015.3



                                         
           For non-individual
           Debtors:                         _____________________________________________
                                            Signature of Authorized Individual

                                            _____________________________________________
                                            Printed name of Authorized Individual

                                            Date _______________
                                                   MM / DD      / YYYY

           For individual Debtors:        ___________________________________________               ____________________________________________
                                            Signature of Debtor 1                                      Signature of Debtor 2

                                            _______________________________________                    ____________________________________________
                                            Printed name of Debtor 1                                   Printed name of Debtor 2

                                            Date _______________
                                                   MM / DD      / YYYY                                Date _______________
                                                                                                              MM / DD       / YYYY   




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              Exhibit A: Financial Statements for [Name of Controlled Non-Debtor Entity]




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              Exhibit A-1: Balance Sheet for [Name of Controlled Non-Debtor Entity] as of [date]



          [Provide a balance sheet dated as of the end of the most recent 3-month period of the current fiscal year and as of the
          end of the preceding fiscal year.

          Describe the source of this information.]




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              Exhibit A-2: Statement of Income (Loss) for [Name of Controlled Non-Debtor Entity] for period ending [date]


              [Provide a statement of income (loss) for the following periods:

               (i) For the initial report:

                  a. the period between the end of the preceding fiscal year and the end of the most recent 3-month period of
                     the current fiscal year; and

                  b. the prior fiscal year.

              (ii) For subsequent reports, since the closing date of the last report.

              Describe the source of this information.]




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              Exhibit A-3: Statement of Cash Flows for [Name of Controlled Non-Debtor Entity] for period ending [date]


              [Provide a statement of changes in cash position for the following periods:

               (i) For the initial report:

                    a. the period between the end of the preceding fiscal year and the end of the most recent 3-month period of
                      the current fiscal year; and

                    b. the prior fiscal year.

              (ii) For subsequent reports, since the closing date of the last report.

              Describe the source of this information.]




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              Exhibit A-4: Statement of Changes in Shareholders’/Partners’ Equity (Deficit) for [Name of Controlled Non-Debtor Entity]
              for period ending [date]


              [Provide a statement of changes in shareholders’/partners equity (deficit) for the following periods:

               (i) For the initial report:

                    a. the period between the end of the preceding fiscal year and the end of the most recent 3-month period of
                      the current fiscal year; and

                    b. the prior fiscal year.

              (ii) For subsequent reports, since the closing date of the last report.

               Describe the source of this information.]




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              Exhibit B: Description of Operations for [Name of Controlled Non-Debtor Entity]


              [Describe the nature and extent of the Debtor’s interest in the Controlled Non-Debtor Entity.

              Describe the business conducted and intended to be conducted by the Controlled Non-Debtor Entity, focusing on the
              entity’s dominant business segments.

              Describe the source of this information.]




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              Exhibit C: Description of Intercompany Claims


              [List and describe the Controlled Non-Debtor Entity’s claims against any other Controlled Non-Debtor Entity, together with
              the basis for such claims and whether each claim is contingent, unliquidated or disputed.

              Describe the source of this information.]




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              Exhibit D: Allocation of Tax Liabilities and Assets


              [Describe how income, losses, tax payments, tax refunds, or other tax attributes relating to federal, state, or local taxes
              have been allocated between or among the Controlled Non-Debtor Entity and one or more other Controlled Non-Debtor
              Entities.

              Include a copy of each tax sharing or tax allocation agreement to which the entity is a party with any other Controlled
              Non-Debtor Entity.

              Describe the source of this information.]




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              Exhibit E: Description of Controlled Non-Debtor Entity’s payments of Administrative Expenses, or Professional Fees
              otherwise payable by a Debtor


              [Describe any payment made, or obligations incurred (or claims purchased), by the Controlled Non-Debtor Entity in
              connection with any claims, administrative expenses, or professional fees that have been or could be asserted against
              any Debtor.

              Describe the source of this information.]




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